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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ERICA LINDSAY LEE,

                  Plaintiff,                 Case No.: 1:21-cv-07934-LGS

          - against -

ANDREW YANG and FRIENDS OF ANDREW
YANG,

                  Defendants.




       REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
  DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
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        Defendants Andrew Yang and Friends of Andrew Yang (“FOAY”) (together,

“Defendants”) respectfully submit this memorandum of law in support of their Motion to

Dismiss Plaintiff’s Amended Complaint (“Motion”).

                                PRELIMINARY STATEMENT 1

        Plaintiff does not dispute that, as a matter of law, all of her claims except her retaliatory

failure to hire claim must be dismissed if the Court finds that she failed to plausibly allege that

she was ever hired by Defendants. She does not and cannot make such an allegation. Plaintiff

was admittedly a volunteer with FOAY – that was the only role she ever held for the short time

she was engaged with Mr. Yang’s presidential campaign. Indeed, the EEOC has already made

an express finding that Plaintiff never had an employee-employer relationship with FOAY.

Compl. at 6.

        Plaintiff’s retaliatory failure to hire claim – the only claim not dependent on her status as

a volunteer – is devoid of any facts establishing the prima facie elements that must be pled to

sustain such a claim. Plaintiff does not plead the requirements for the executive assistant job at

issue; does not plead any facts supporting her conclusory assertion that she was qualified for that

job; and does not plead any facts plausibly supporting an inference that the failure to hire was

retaliatory.   See Riddle v. Citigroup, No. 13 CIV. 6833 AKH, 2014 WL 2767180, at *4

(S.D.N.Y. May 29, 2014) (explaining elements of failure to hire claim).

        Because Plaintiff cannot cure these fatal defects in her claims, Plaintiff focuses her

Opposition on reciting undisputed legal standards, regurgitating the conclusory allegations in the

Amended Complaint, throwing mud at Mr. Yang’s current political operations, and attempting to



1
  Abbreviated terms not otherwise defined in this reply memorandum of law have the same
meaning as in Defendants’ moving memorandum of law in support of this motion to dismiss.
See Dkt. No. 62.
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cure her pleading defects by inserting new “facts” not found anywhere in her Amended

Complaint. None of those tactics save Plaintiff’s claims.

       Allowing Plaintiff to pursue her meritless claims would lead to nothing more than

wasting the limited resources of a federal candidate committee (FOAY), which wound down its

operations after Mr. Yang withdrew from the 2020 presidential race more than two years ago. It

would also have a chilling effect on grassroots political campaigns and organizing, which, like

FOAY, depend heavily on volunteers. Plaintiff effectively seeks to hold Defendants liable for

alleged conduct of other volunteers over whom Defendants had no control – a holding that would

make it impracticable for political candidates to encourage grassroots campaigning going

forward.

       For these reasons, and as further discussed in Defendants’ moving memorandum of law,

Plaintiff’s Amended Complaint should be dismissed with prejudice.

                                           ARGUMENT

I.     Plaintiff Alleges No Facts to Satisfy Her Burden of Sufficiently Pleading an
       Employee-Employer Relationship.

       Plaintiff does not dispute that all of her employment discrimination claims pursuant to Title

VII, the NYSHRL, and the NYCHRL fail if she did not have an employee-employer relationship

with Defendants.     Nor does she dispute that, in order to establish an employee-employer

relationship, she must sufficiently plead both (i) that she was hired by Defendants; and (ii) that she

was hired as an employee (rather than an independent contractor) under a thirteen-factor test. See

Opp. Br. at 10; see also Hughes v. Twenty-First Century Fox, Inc., 304 F. Supp. 3d 429, 443

(S.D.N.Y. 2018).

       Plaintiff has already admitted multiple times that she was never provided remuneration –

the key requirement to pleading that she was hired by Defendants under the Hughes test.



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Plaintiff cites no authority holding that a vague statement that Plaintiff’s volunteer role may turn

into a paid position at some unspecified time in the future, paying an unspecified wage, is

sufficient to show she was hired. Indeed, relevant case law holds the opposite.

       Even if Plaintiff sufficiently alleged a specific promise of remuneration as required under

Hughes, the Amended Complaint does not assert any facts sufficient to satisfy the thirteen-factor

test under Hughes to establish that Plaintiff was an employee. Tacitly acknowledging such

deficiency, Plaintiff now tries to cure it by inserting new factual allegations into her Opposition.

Plaintiff’s repleading by motion should not be condoned.

       At bottom, Plaintiff does not and cannot plead an employee-employer relationship with

either Defendant. Indeed, the EEOC – after examining records from FOAY and Plaintiff – has

already held that Plaintiff had no such relationship with FOAY. See Compl. at 6. Plaintiff’s

inability to sufficiently plead that relationship is fatal to her employment discrimination claims.

       A.       Plaintiff’s Vague Assertion that She Was Promised Compensation Is
                Insufficient.

       Plaintiff’s claims fail the first prong of the Hughes test because she admits to not

receiving remuneration, and her assertion that she was promised a salary is far too vague to be

actionable. While a promise of payment may constitute remuneration, see Hughes, 304 F. Supp.

3d at 443, it still cannot be a “vague benefit.” Areu v. Fox News Network, LLC, No. 20-CV-8678

(RA), 2021 WL 4124226, at *9 (S.D.N.Y. Sept. 9, 2021). Statements of potential future salaried

positions with no specifics as to amount of compensation or timeline are “general and equivocal

statements that are not promises of compensation” sufficient to establish an employee-employer

relationship. Doe v. Anonymous Inc., No. 18 CIV. 10924 (PAC), 2019 WL 2616904, at *3

(S.D.N.Y. June 25, 2019), aff’d, 794 F. App’x 129 (2d Cir. 2020).

       Plaintiff’s employment discrimination claims all hinge on a single conclusory assertion that



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Plaintiff was promised compensation. There are no facts alleged as to any specifics as to the

purportedly promised compensation. See generally Am. Compl. at ¶ 31. The exhibits annexed to

Plaintiff’s original Complaint, however, make clear that the so-called “promise” of compensation on

which Plaintiff relies were from (i) a July 12, 2019 text message from another volunteer, Roza

Calderon, stating “well they said those positions will turn into paid”; and (ii) an undated message

from FOAY employee Rebecca Nagy stating in similarly vague terms that “everyone was told it

was going to turn into a paid position.” See Dkt. No. 11-1 at Ex. N. These vague statements that

her volunteer position could turn into a paid position – with no facts concerning wage or even when

such transition would occur – are precisely the type of “general and equivocal statements that are

not promises of compensation.” Anonymous Inc., No. 18 CIV. 10924 (PAC), 2019 WL 2616904, at

*3. To hold otherwise would eviscerate the requirement that Plaintiff plead a non-vague benefit

under Hughes and Areu.

       Because Plaintiff’s claims fail the first prong of the Hughes test, the Court need not address

the second prong and should dismiss Plaintiff’s First, Second, Third, Fourth, Fifth, and Sixth Causes

of Action.

       B.       If the Court Determines Plaintiff Was Hired by Defendants, Plaintiff Has Not
                Pled Facts Supporting the Second Prong of the Hughes Test.

       Even if, however, the Court determines that Plaintiff has sufficiently pled a concrete

promise of compensation as required under Hughes to establish she was hired by Defendants,

Plaintiff has not sufficiently pled any of the thirteen factors to establish her employment by

Defendants. See Hughes, 304 F. Supp. at 442 (citation omitted); see also Opp. Br. at 10.

       Contrary to the arguments in her Opposition, there are no facts pled in the Amended

Complaint – or Plaintiff’s original Complaint – that “Defendants controlled what Plaintiff posted

on social media and required her to meet specific goals, login to a specific platform, contact



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volunteers regarding applications, consolidate ‘Yang Gangs’ within her state, and track

volunteers retained.” See Opp. Br at 11-12. The factual allegations in Plaintiff’s pleadings are

devoted to Plaintiff’s purported reports of discrimination and her interactions with campaign

volunteers and staffers, and the Amended Complaint is devoid of any facts relevant to the

thirteen indicia of employment laid out in Hughes. Compare Am. Compl. with Opp. Br. at 10

(listing thirteen Hughes factors). Nor are there any allegations in the Amended Complaint

indicating “Looney regularly checked in with Plaintiff via various communication platforms

regarding tasks for which she was responsible and required Plaintiff to attend weekly YGRO

meetings.” See Opp. Br. at 12. Tellingly, Plaintiff does not – and cannot – cite to any specific

paragraph in her Amended Complaint containing these allegations. See id. Plaintiff cannot

amend her pleading by motion in order to save her claims.

       Because Plaintiff has failed to allege any of the thirteen factors to establish an employee-

employment relationship, all of her employment discrimination claims fail.

II.    Plaintiff’s Conclusory Allegations Do Not Save Her Claims Against Mr. Yang,
       Individually.

       Plaintiff concedes that Title VII does not permit individual liability, and voluntarily

dismisses her claim against Mr. Yang, individually, under the federal statute.

       Plaintiff’s claims against Mr. Yang, individually, under the NYSHRL and NYCHRL

should also be dismissed. The totality of Plaintiff’s opposition on this issue turns on two

conclusory allegations: (i) a presumption that Mr. Yang had an ownership interest in FOAY, his

federal candidate committee; and (ii) that he was personally involved in the alleged

discriminatory actions against Plaintiff or condoned such actions. See Opp. Br. at 14.

       As to Mr. Yang’s ownership interest in FOAY, Plaintiff alleges no facts to support this

presumption, which is incorrect as a matter of law. FOAY is a federal candidate committee



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organized as a not-for-profit.     See Filings by FRIENDS OF ANDREW YANG, FEDERAL

ELECTION COMMISSION, https://docquery.fec.gov/cgi-bin/forms/C00659938/sb (last visited Sept.

14, 2022). Mr. Yang has no ownership interest.

       As to Mr. Yang’s personal involvement or acquiescence to the alleged discriminatory

acts, the only fact asserted in the Amended Complaint indicating Mr. Yang had any knowledge

of Plaintiff’s complaints is an October 2019 phone call between Mr. Yang and Plaintiff – after

she was already relieved of her volunteer duties. See Am. Compl. ¶ 49; see also Opp. Br. at 14

(citing Am. Compl. ¶¶ 47, 49-51). As Plaintiff was no longer a volunteer by October 2019,

Plaintiff pleads no individual involvement on the part of Mr. Yang in the purported

discriminatory or retaliatory actions of which Plaintiff complains.

III.   Plaintiff’s Opposition Fails to Cure the Pleading Deficiencies in Her Discrimination
       Claims.

       Setting aside that all of Plaintiff’s employment discrimination claims fail as a matter of

law because of the lack of an employee-employer relationship, Plaintiff does not and cannot cure

the pleading deficiencies in her discrimination claims.

       First, Plaintiff does not plead a causal nexus between her sex and the discriminatory

conduct alleged. Plaintiff’s Opposition, like her Amended Complaint, relies almost exclusively

on allegedly discriminatory statements directed at other individuals to sustain her sex

discrimination claim. Indeed, Plaintiff concedes that her pleadings assert “Defendants routinely

exhibit a discriminatory animus against women” and that Plaintiff “opposed Defendants’

discriminatory comments about women on multiple occasions.” See Opp. at 16. Plaintiff cites

no authority for her proposition that purportedly discriminatory statements directed at others can

form the base of a discrimination claim brought by her.




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       Second, Plaintiff’s retaliatory termination claim fails because, in order to bring such a

claim under Title VII, the NYSHRL, and the NYCHRL, Plaintiff had to have been an employee.

See de Souza v. Planned Parenthood Fed’n of Am., Inc., No. 21 CIV. 5553 (LGS), 2022 WL

2047580, at *3 (S.D.N.Y. June 7, 2022) (discussing adverse employment actions under Title VII,

NYSHRL, and NYCHRL). And as analyzed above and in Defendants’ moving memorandum of

law, Plaintiff was not an employee of either Defendant.

       Third, to the extent that Plaintiff’s retaliation claim is based on doxxing, Plaintiff

attributes the doxxing to an individual, David Barnes – who Plaintiff concedes was another

volunteer, see Am. Compl. ¶¶ 47, 52 – and asserts no allegations that Defendants directed or

condoned the doxxing. Nor is there any allegation that Mr. Barnes doxxed Plaintiff through any

FOAY social media handles or platforms. See generally id.

IV.    Plaintiff Has Not Sufficiently Pled a Retaliatory Failure to Hire Claim.

       The basic pleading requirements for a failure to hire claim require pleading the job

requirements, that Plaintiff was qualified for the executive assistant position, and facts plausibly

indicating that the failure to hire was driven by discriminatory animus. See Riddle, 13 CIV. 6833

AKH, 2014 WL 2767180, at *4 (explaining elements of failure to hire claim).

       Here, Plaintiff’s retaliatory failure to hire claim is based on a single conclusory paragraph

in the Amended Complaint:

       On [August 22, 2019], Plaintiff applied for an Executive Assistant position
       advertised on Defendants’ website. Plaintiff was qualified for the position. However,
       Defendants further retaliated against Plaintiff by failing to interview and hire her for
       the Executive Assistant position despite her qualifications.

Am. Compl. ¶ 38.

       Nowhere in the Amended Complaint is any explanation of the executive assistant job

requirements. Nor are there any facts to indicate that Plaintiff was qualified for the position.



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There are likewise no facts whatsoever concerning why Plaintiff was denied an interview, much

less facts sufficient to plausibly allege that the failure to hire was the result of discriminatory

animus. Plaintiff’s failure to sufficiently plead all of these elements is fatal.

V.      Plaintiff Should Not Be Given Further Leave to Replead.

        Plaintiff voluntarily dismissed her defamation claim, and her further amendment of her

employment discrimination claims would be futile given that Plaintiff had no employee-employer

relationship with Defendants as a matter of law. Nechis v. Oxford Health Plans, Inc., 421 F.3d 96,

104 (2d Cir. 2005) (leave to replead should be denied where repleading would be futile). As such,

Plaintiff should not be given leave to further waste the Court’s and Defendants’ resources by

amending her pleadings a second time.

                                          CONCLUSION

        For all of the foregoing reasons, Defendants respectfully request that the Court dismiss

Plaintiff’s Amended Complaint in its entirety and with prejudice.


Dated: September 15, 2022                               /s/ Qian Shen
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